 

\_":C§se 3;10.7,cv-02'769-RW'_T -Docum§m"l l=_iled 1§/12/07` Page1014

 

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J@rn~rcs'roPmRBELCHER "`1 `l'-; 31 .-

‘ Case number:

1 ` _` THE 111§1\/§>§01~1 CCRPORATION

DEFENDANTS’ NOTICE OF REMOVAL

C_OME_S. NOW, Defendant Th0111sQ11 Corporatlon (mcorrectly 1dent1f1ed a§o`v§ as “The‘-.."`;;.

 

 

filed a Complamt (th§ “Complamt”) §_ga.mst 'I’homson Corporauon and CI_SCO,111§. (collectlvely,-'_ -

the “Defeodants”), 111 the Dist1'ict C0\11't of Maryland for Prince George’ s C01111ty, case nu111ber:
" 0§ 0200268732007 (the “St_`ate Co'_urt S11it”). A tru§ and correct copy .0'f Plajhti_H"s Compla.mt i11‘ 1 §
- the S_tat§ C0u1't Suit 1s attach§d and incorpor§t§d hereto as Exhib1t A_.

2. ' _ Def§nd§nt C1S_CO, l§c. was served with the Stat§ Co_urt Sult on or about Sept§mber _

7 f 'ease-ss:oz?_.fc:_v'-Qa`?'eQ-RWT_ ».Deei`-i_meh`-i`;"ji_: - File_d 10/12/07 'F`>ei`g'e -2 ef4" 7

   

   

   

7 7 _ Thonison Corporatioii was served with the State Court Suit orier about 7
7 77 `: 7`…-Septeiiiber 14,- 2007 by certified mail. Accordin`gly, 'I'hoii`ison Corp'oi'atioii_ lfiles this notice of ,
7 rehie_§rei rather the so-dey time period reqhired hy 23 U s. c §14476(¢71). 7 7 7
.B. Basis for Removal
‘ Federal` Questionl

7 ¢5.' 7 77 7This7 cause is removable based o`n federal question _|urisdiction Plaintiff alleges that 7

7 ` `_ 7 :_ :7.7Defendants violated federal statutes, the Fair Debt Collection Practices A_ct_,' 15 711. 7S. C. §1692 etseq 71 7 7 7
77l (“FDCPA”) See Plaintitt"s Complaint Therefore this Court has _iurisdiction pursuant to 28 U. S C. 17 7
7 _ §14741(b1 because Plaintiff has asserted claims arising -uiider the laws of the United States.

7 ` -7 6 Defendaiit CISCO Inc. agrees to the removal as represented by Toin Kurowski 0171-' \7

  
  
  
 

7 9 c 7 ber 11-, 20071te1_ephone call'with_Thomson Corporation s counsel

   

 

districtiuiider 28 U _S C §1441(a) ._ ¢__ .

 

77 ‘ f division embrace the place where the removed action has been pending
7 - 8 .7 Thomson Corporation will iile promptly a copy of this notice of re_i:_rioval with the 7 7

, clerk of. the state court where the actiori has been pending

 

   

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Maryland and D61611dant '11101'11$0'11 C6rp01atio11 prays 101 sL1c11 661161 and 111161161 161161- whi611 61113- -.-

Court deems nec6`ssary, j1ist and p10p61

 
 
  

T_ OMSON CORPORATION
BCounsel " ‘

 

 

'EnkR Qulck,Esun.re ` 'r

j '- Federal State B_a1 number 013996

 

 

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6188 Oxon Hill Road; Sl11te 811
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° -‘ CISC_O, In¢. ~
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